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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RIKKENDO BEARD                                         :
                                                       : NO: 25-cv-1436
                          v.                           :
                                                       : JURY TRIAL DEMANDED
CITY OF PHILADELPHIA, et al.                           :

     ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT AJENERA ABEL
              INCORRECTLY IDENTIFIED AS AJENEERA ABEL
        Defendant Ajenera Abel incorrectly identified as Ajeneera Abel (“Answering Defendant”),

by and through counsel, hereby answers Plaintiff’s Complaint as follows:

                                           INTRODUCTION

        1.        Denied. Strict proof is demanded at trial.

                                   JURSIDICTION AND VENUE

        2-4.      It is admitted, based on the allegations of plaintiffs’ complaint, the jurisdiction and

venue appear to be proper in this Court.

                                                PARTIES

        5.        Denied. After reasonable investigation, answering defendant is unable to form a

belief as to the truth of the averments of these paragraphs, denies the same, and demands strict

proof at trial.

        6-8.      The averments of these paragraphs are directed to parties other than answering

defendant such that no response is required. To the extent a response is required, after reasonable

investigation, answering defendant is unable to form a belief as to the truth of the averments of

these paragraphs, denies the same, and demands strict proof at trial.

        9-10. Admitted in part. Denied in part. It is admitted that answering defendant was a

Correctional Officer at PDP and employed by the City of Philadelphia. All allegations with respect

to answering defendant’s status “at all times relevant to this Complaint” are denied, as those times
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are not defined. It is denied that answering defendant is properly identified in this suit. The

remaining averments of these paragraphs are directed to parties other than answering defendant

such that no response is required.        To the extent a response is required, after reasonable

investigation, answering defendant is unable to form a belief as to the truth of the remaining

averments of these paragraphs, denies the same, and demands strict proof at trial.

        11.       Admitted in part. Denied in part. Answering defendant admits that Plaintiff purports

to bring a claim against answering defendant in her individual capacity and denies all allegations

and demands strict proof at trial. After reasonable investigation, answering defendant is unable to

form a belief as to the truth of the remaining averments of this paragraph, denies the same, and

demands strict proof at trial.

        12.       Denied. Answering Defendant denies the averments of this paragraph and demands

strict proof at trial.



                                    FACTUAL ALLEGATIONS

        13-38. Denied. After reasonable investigation, answering defendant is unable to form a

belief as to the truth of the averments of these paragraphs, denies the same, and demands strict

proof at trial.

        39.       Denied. Strict proof is demanded at trial.

        40-42. Denied. After reasonable investigation, answering defendant is unable to form a

belief as to the truth of the averments of these paragraphs, denies the same, and demands strict

proof at trial.

        43-44. Denied. Answering Defendant denies the averments of these paragraphs and

demands strict proof at trial.



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        45-56. Denied. After reasonable investigation, answering defendant is unable to form a

belief as to the truth of the averments of these paragraphs, denies the same, and demands strict

proof at trial.

        57.       Denied. Strict proof is demanded at trial.

                                      COUNT I
               Federal Civil Rights Violations Under 42 U.S.C. § 1983
Rikkendo Beard v. Correctional Officer Orville Ford, Sargeant Aisha Ryans, Correctional
                Officer Ajeenera Abel, and Defendants John/Jane Doe


        58.       Answering defendant incorporates by reference responses to preceding paragraphs

of the complaint as if fully set forth here at length.

        59-63. Denied. Strict proof is demanded at trial.
                                       COUNT II
                   Failure to Protect or Intervene – 42 U.S.C. § 1983
     Rikkendo Beard v. Correctional Officers Orville Ford, Sargeant Aisha Ryans, and
                               Defendants John/Jane Doe


        64.       Answering defendant incorporates by reference responses to preceding paragraphs

of the complaint as if fully set forth here at length.

        65-68. Denied. The averments of these paragraphs are directed to parties other than

answering defendant such that no response is required. To the extent a response is required, the

averments of these paragraphs are denied. Strict proof is demanded at trial.

                                          COUNT III
                              Rikkendo Beard v. City of Philadelphia

        69.       Answering defendant incorporates by reference responses to preceding paragraphs

of the complaint as if fully set forth here at length.




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        70-74. Denied. The averments of these paragraphs are directed to parties other than

answering defendant such that no response is required. To the extent a response is required, the

averments of these paragraphs are denied. Strict proof is demanded at trial.

                                   AFFIRMATIVE DEFENSES

        1.       At all times material herein, the Plaintiff was afforded all the rights, privileges, and

immunities granted pursuant to the Constitution and the laws of the United States and the

Commonwealth of Pennsylvania.

        2.       At no time material hereto did answering defendant act recklessly or maliciously or

with a disregard for the Plaintiff’s health, safety, or welfare.

        3.       The Plaintiff suffered no legally cognizable injuries or damages as a result of any

alleged improper acts or omissions on the part of answering defendant.

        4.       At all times material herein, the actions of answering defendant was appropriate

under the circumstances and based upon a reasonable, good-faith belief that they were justified

under the law.

        5.       Plaintiff’s Complaint fails to state a cause of action upon which relief may be

granted.

        6.       Plaintiff has failed to mitigate his damages.

        7.       Answering defendant is entitled to qualified immunity.

        8.       At all relevant times, answering defendant acted in an objectively reasonable

manner.

        9.       Merely negligent or careless conduct on the part of answering defendant fails to

support a cause of action under 42 U.S.C. § 1983.




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          10.   The conduct of answering defendant was carried out in good faith and without

malice.

          11.   Plaintiff’s alleged injuries were caused by the independent, intervening and

superseding conduct of other persons or entities not under the control or supervision of answering

defendant.

          12.   If plaintiff suffered a deprivation of his constitutional rights, which is denied, it was

not clearly established that the conduct of answering defendant constituted a constitutional

violation.

          13.   Plaintiff’s claims are barred, in whole or in part, by his failure to comply with the

provisions of the Prison Litigation Reform Act of 1995, 42 U.S.C. § 1997(e), including but not

limited to, the provisions requiring exhaustion of all administrative remedies before commencing

a federal suit, and the physical injury requirement.

          WHEREFORE, defendant, Ajenera Abel incorrectly identified as Ajeneera Abel,

demands that judgment be entered in her favor together with the costs of the defense of this matter.

                                                Respectfully submitted,

                                                BENNETT, BRICKLIN & SALTZBURG LLC

                                        By:     /s Nicholas A. Cummins
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                                                identified as Ajeneera Abel
Date: April 18, 2025

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